 Case 6:22-cv-00003-JCB Document 53 Filed 07/15/22 Page 1 of 2 PageID #: 749




                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                       TYLER DIVISION

 GOVERNOR GREG ABBOTT, in his official
 capacity as Governor of the State of
 Texas,

 and
                                                               No. 6:22-cv-3-JCB
 GOVERNOR MIKE DUNLEAVY, in his official
 capacity as Governor of the State of
 Alaska,
         Plaintiffs,

 v.

 JOSEPH R. BIDEN, in his official capacity as
 President of the United States, et al.,
        Defendants.


                      DEFENDANTS’ PROPOSED CASE SCHEDULE

       Pursuant to the Court’s February 24, 2022, order, ECF No. 24, Defendants respectfully

request that the Court enter an order setting the following case schedule:

 August 19, 2022                                  Defendants to provide Administrative Record
                                                  Parties to file cross-motions for summary
 September 9, 2022
                                                  judgment, not to exceed 60 pages
                                                  Parties to file cross-responses, not to exceed
 September 30, 2022
                                                  60 pages
                                                  Parties to file cross-replies, not to exceed 20
 October 14, 2022
                                                  pages

       Defendants submit that this proposed schedule will allow for adequate time for Defendants

to prepare and produce any applicable administrative records in this case. Defendants do not

anticipate that any party will need to conduct additional discovery before proceeding to summary

judgment. This proposed summary judgment schedule will also provide the Court with thorough
 Case 6:22-cv-00003-JCB Document 53 Filed 07/15/22 Page 2 of 2 PageID #: 750




briefing and analysis of the complex legal issues before the Court. Defendants have conferred

with Plaintiffs and understand that Plaintiffs plan to respond to this proposal in due course.


Date: July 15, 2022                                  Respectfully submitted,

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United States Attorney                               Principal Deputy Assistant Attorney
Eastern District of Texas                            General

 /s/ James G. Gillingham                             ANTHONY J. COPPOLINO
JAMES GILLINGHAM                                     Deputy Director
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Eastern District of Texas                            /s/ Zachary A. Avallone
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                                                      Counsel for Defendants


                                   CERTIFICATE OF SERVICE
       I certify that on July 15, 2022, this document was filed through the Court’s CM/ECF
system, which automatically serves all counsel of record.

                                              /s/ Zachary A. Avallone


                                  CERTIFICATE OF CONFERENCE
        I certify that on July 15, 2022, counsel for Defendants conferred telephonically with
counsel for Plaintiffs. Plaintiffs have indicated that they plan to respond to this proposal in due
course.

                                              /s/ Zachary A. Avallone
